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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 AFL-CIO, et al.,

                    Plaintiffs,

                       vs.                       Case No. 1:25-cv-339-JDB

 U.S. Department of Labor, et al.,

                 Defendants.


              PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

       Plaintiffs American Federation of Government Employees, AFL-CIO; American

Federation of State, County and Municipal Employees, AFL-CIO; Service Employees

International Union, AFL-CIO; Communications Workers of America, AFL-CIO; and American

Federation of Teachers hereby move the Court to issue a preliminary injunction against

Defendants United States Department of Labor (“DOL”); Secretary of Labor Lori Chavez-

DeRemer; United States Department of Health and Human Services (“HHS”); Secretary of

Health and Human Services Robert F. Kennedy, Jr.; United States DOGE Service (“USDS”);

United States DOGE Service Temporary Organization (“USDS TO”); USDS Administrator Amy

Gleason; and their officers, agents, servants, employees, and attorneys.

       Discovery in this case has confirmed just what Plaintiffs alleged. DOL and HHS have

given members of the DOGE Teams working at their agencies unfettered, on-demand access to

their most sensitive systems of records. These systems contain deeply personal information,

including Social Security numbers, bank account information, and medical diagnosis and

procedure codes. The agencies have granted this access without even attempting to identify a

particularized need for access to these systems, as required by the Privacy Act, let alone finding


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that one exists. Requests for access are fast tracked. Normal systems and security training are

ignored. And if DOGE Team members seek to access additional systems, DOL and HHS will

permit them. HHS, for example, could identify neither an unclassified system of records to

which DOGE Team members would be denied access nor a possible reason for a denial.

       In lieu of the careful, system-by-system, and user-by-user approach contemplated by the

Privacy Act, DOL and HHS merely invoke the incantation of “waste, fraud, and abuse” to justify

granting access to any system DOGE Team members choose, no matter how sensitive. But

“waste, fraud, and abuse” are not magic words, and they cannot conjure up a need to grant

DOGE Team members on-demand access to Americans’ most sensitive and personal information.

       As Plaintiffs demonstrate in their Memorandum of Facts and Law submitted herewith: (1)

they are likely to succeed on the merits of their claims; (2) they are likely to suffer irreparable

harm absent preliminary relief; (3) the balance of equities tips in their favor; and (4) an

injunction will serve the public interest. With respect to their likely success on the merits,

Plaintiffs demonstrate that they have standing and will, at minimum, succeed on their claims

under the Administrative Procedures Act.

       Accordingly, the Court should issue a preliminary injunction:

       (1) Enjoining Defendants DOL, Secretary Chavez-DeRemer, HHS; Secretary Kennedy,

           and their officers, agents, servants, employees, and attorneys from:

               •   providing or allowing DOGE Affiliates access to Sensitive Systems1 in those

                   agencies’ custody and/or control; and




1
  “Sensitive Systems” means any system of records containing Personally Identifiable
Information (“PII”) or Personal Health Information (“PHI”).

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              •   disclosing PII or PHI to DOGE Affiliates,2 other than the PII or PHI of said

                  DOGE Affiliates.

       (2) Directing Defendants DOL, Secretary Chavez-DeRemer, HHS, Secretary Kennedy,

          USDS, USDS TO, Administrator Gleason, and their officers, agents, servants,

          employees, and attorneys to take all affirmative steps necessary to:

              •   prevent DOGE Affiliates from accessing any HHS or DOL Sensitive Systems

                  or the records contained therein;

              •   delete any copies of records pertaining to HHS or DOL Sensitive Systems

                  made by or at the direction of DOGE Affiliates, including any new records or

                  databases created using those records, and ensure the deletion of any copies of

                  such records disclosed to or shared with other individuals; and

              •   remove any software installed by DOGE Affiliates on HHS or DOL agency

                  systems and prevent DOGE Affiliates from installing any software on HHS or

                  DOL agency systems.

       (3) Ordering Defendants HHS, DOL, USDS, and USDS TO to file a status report with

          this Court by an appropriate date identified by the Court documenting the actions they

          have taken to comply with this Order and certifying compliance with the preliminary

          injunction.




2
  “DOGE Affiliates” means (1) any current or former employee of, including detailees from or
to, USDS or the USDS Temporary Organization, or (2) any current or former member of a
DOGE Team established at any federal agency.
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Dated: April 18, 2025                     Respectfully submitted,


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